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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF IOWA
                                    CENTRAL DIVISION


  DENNIS DONNELLY, on behalf of himself
  and all others similarly situated,
                                                        Case No. 4:25-cv-00150-RGE-WPK
            Plaintiff,

  v.                                                    DECLARATION OF NICHOLAS A.
                                                        KLINEFELDT IN SUPPORT OF DES
  DES MOINES REGISTER AND TRIBUNE                       MOINES REGISTER & TRIBUNE CO.
  CO., INC., J. ANN SELZER, an individual,              AND GANNETT CO., INC.’S
  SELZER & COMPANY, and GANNETT CO.,                    RESISTANCE TO PLAINTIFF’S
  INC.,                                                 MOTION FOR REMAND

            Defendants.


       1.        My name is Nicholas A. Klinefeldt. I am a Partner at the law firm of Faegre Drinker

Biddle & Reath LLP. I am one of the attorneys representing Defendants Des Moines Register &

Tribune Co. and Gannett Co., Inc. (“Press Defendants”) in the above-captioned matter.

       2.        I make this Declaration in support of Press Defendants’ Resistance to Plaintiff’s

Motion for Remand.

       3.        Attached as Exhibit 1 is a true and correct copy of email correspondence among

counsel for the parties between January 8, 2025, and January 9, 2025.

       4.        Attached as Exhibit 2 is a true and correct copy of email correspondence among

counsel for the parties between January 17, 2025, and January 22, 2025.

       5.        Attached as Exhibit 3 is a true and correct copy of email correspondence among

counsel for the parties between January 17, 2025, and February 12, 2025.

       6.        Attached as Exhibit 4 is a true and correct copy of an email from Plaintiff’s counsel

to counsel for Defendants dated March 7, 2025.
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       7.     Attached as Exhibit 5 is a true and correct copy of email correspondence among

counsel for the parties between March 28, 2025, and April 2, 2025.

       I declare under penalty of perjury that everything I have stated in this document is true and

correct.

       Executed this 6th day of June in 2025.



                                             ___________________________________

                                             Nicholas A. Klinefeldt, AT0008771
